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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
     JOHN RICHARD PENWARDEN,
 8
                                   Plaintiff,              Case No. C20-5541 RAJ
 9
            v.                                             ORDER EXTENDING DEADLINE
10                                                         FOR SERVICE
     COMMISSIONER OF SOCIAL SECURITY,
11
                                   Defendant.
12
            Plaintiff, proceeding pro se, commenced this civil action by filing a complaint in the
13
     District of Oregon on March 23, 2020. See Dkt. #1; Federal Rule of Civil Procedure (Fed. R.
14
     Civ. Proc.) 3. The action was transferred to the Western District of Washington in June 2020.
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     Dkt. #9, 10.
16
            Plaintiff was required to serve the complaint and summons on Defendant within 90 days
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     after the complaint was filed. Fed. R. Civ. Proc. 4(b), (m). Plaintiff was instructed how to do so
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     in the Order Directing Issuance of Summons and accompanying attachments: fill in Defendant’s
19
     name and address on the summons form provided and return it to the Clerk’s Office. Dkt. #12-1.
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     After the Clerk’s Office issues the summons, Plaintiff was instructed to effectuate service by
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     emailing a copy of the complaint and summons to Defendant at
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     USAWAW.SSAClerk@usdoj.gov, and file proof of service with the court as required by Rule 4
23
     of the Federal Rules of Civil Procedure. See Dkt. #12.



     ORDER EXTENDING DEADLINE FOR SERVICE - 1
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 1          “If a defendant is not served within 90 days after the complaint is filed, the court – on

 2 motion or on its own after notice to the plaintiff – must dismiss the action without prejudice

 3 against that defendant or order that service be made within a specified time.” Fed. R. Civ. Proc.

 4 4(m). Because Plaintiff is proceeding pro se, and this action was transferred from the

 5 jurisdiction in which Plaintiff originally filed it, the Court will grant additional time for service to

 6 be completed. Accordingly, the Court hereby ORDERS the date by which Plaintiff must serve

 7 Defendant extended to October 22, 2020. If service is not completed by that date, the Clerk’s

 8 Office is directed to DISMISS this action without prejudice.

 9          The Clerk’s Office is directed to mail a copy of this Order and the Order Directing

10 Issuance of Summons, including attachments, (Dkt. #12) to Plaintiff’s mailing address.

11          DATED this 17th day of September, 2020.

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                                                           A
14                                                         The Honorable Richard A. Jones
                                                           United States District Judge
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     ORDER EXTENDING DEADLINE FOR SERVICE - 2
